         2:15-cv-02136-CSB-EIL # 190            Page 1 of 2                                           E-FILED
                                                                             Friday, 27 April, 2018 02:31:49 PM
                                                                                  Clerk, U.S. District Court, ILCD
                                            APRIL 26, 2018

                                  IN THE UNITED STATES DISTRICT COURT

                          CENTRAL DISTRICT OF ILLINOIIS -URBANA DIVIISION

PLAINTIFF:

HYE-YOUNG PARK aka LISA PARK                                   FILED
Vs.                                                                  APR   21 2018
DEFENDANTS:                                                     CLERK OF THE COURT
                                                                 U.S. DISTRICT COURT
                                                             CENTRAL DISTRICT OF ILLINOIS
MICHAL T. HUDSON, individually,

HEIDI JOHNSON, individually,                                            CASE NO. 15-cv-2136

CHARLES SECOLSKY, individually,

ROBERT STAl<E, individually,

And THE BOARD OF TRUSTEES OF THE

UNIVERSITY OF ILLINOIS

      DEFENDANT CHARLES SECOLSKY'S MOTION TO UTILIZE A-V EQUIPMENT AT TRIAL IN URBANA
      COURTHOUSE FOR POWER-POINT PRESENTATION AND FOR TELEPROMPTING EXPERT WITNESS
        TESTIIMONY FROM MICHIGAN IN ORDER TO ENABLE CROSS EXAMINATION BY PLAINTIFF.

        NOW COMES Defendant CHARLES SECOLSKY, PRO SE, RESPECTFULLY SUBMITTING THIS MOTION
TO THE COURT FOR UTILIZING THE COURT'S AUDIO-VISUAL EQUIPMENT FOR MAl<ING A POWER POINT
PRESENTTATION RELATE«:!TO SECOLSKY'S DEFENSE AND FOR TELEPROMPTING EXPERT WITNESS
TESTIMONY FROM MICHIGAN. TO ALLOW FOR CROSS EXAMINATION BY PLAINTIFF'S ATTORNEY.



                                                      SUBMITTED,

                                                        a.4µ~
                                                      CHARLES SE COS KY, PRO SEO,


                                                      DATE: APRIL 26, 2018
                                                      CHARLES SECOLSKY, PH.D.
                                                      126 ROLLING MEADOWS ROAD,
                                                      MIDDLETOWN, NY 10940
                                                      973-489-6472
                                                      csecolsky@gmail.com
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CERTIFICATE OF SERVICE BY USPS EXPRESS OVERNIGHT MAIL TO:


DENNIS MICKUNAS


LISA PARK


WILLIAM BRINKMAN


BRIAN SMITH


THE US DISTRICT COURT URBANA
